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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                          )
                                                  )   No. 1:23-cr-112-PB-AJ-01
               v.                                 )
                                                  )
CHARLES GLENN                                     )
                                                  )

                                        INDICTMENT

       The Grand Jury charges:

                                        COUNT ONE
          [18 U.S.C. § 875(c) – Transmitting a Threatening Interstate Communication]

       On or about December 1, 2020, in the District of New Hampshire, the defendant,

                                     CHARLES GLENN,

knowingly, willfully and recklessly transmitted in interstate commerce a communication

containing a threat to injure the person of another. Specifically, GLENN utilized a telephone at

the New Hampshire State Prison to contact Victim #1 in Massachusetts. In the communication,

GLENN stated, “I’m going to get one of your kids killed.”

       All in violation of Title 18, United States Code, Section 875(c).
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                                           COUNT TWO
                     [18 U.S.C. § 876(c) – Mailing a Threatening Communication]

          On or about December 1, 2020, in the District of New Hampshire, the defendant,

                                        CHARLES GLENN,

   knowingly and with intent to threaten, caused a communication addressed to Victim #1 to be

   delivered by the Postal Service according to the directions thereon. The document contained a

   threat to injure Victim #1.

          All in violation of Title 18, United States Code, Section 876(c).


   Dated: December 6, 2023


                                                        A TRUE BILL


                                                       /s/ Foreperson
                                                        Foreperson of the Grand Jury


   DARCIE N. MCELWEE
   United States Attorney
   District of Maine


By: /s/David B. Joyce
    David B. Joyce
    Special Attorney to the United States Attorney General
    Acting Under Authority Conferred by 28 U.S.C. § 515
